       Case 2:07-cr-00025-WBS Document 173 Filed 02/04/09 Page 1 of 2


 1   LAWRENCE G. BROWN
     Acting U.S. Attorney
 2   HEIKO P. COPPOLA
     Assistant U.S. Attorney
 3   501 I Street, Suite 10-100
     Sacramento, California 95814
 4   (916) 554-2770 (office)
     (916) 554-2900 (fax)
 5
 6
 7
 8              IN THE UNITED STATES DISTRICT COURT FOR THE
 9                    EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,     )           CR.-S-07-0025-EJG
                                   )
12        PLAINTIFF,               )           STIPULATION AND
                                   )           ORDER CONTINUING JUDGMENT
13        v.                       )           AND SENTENCE TO
                                   )           MARCH 20, 2009
14   WEI JIE MA, et al.,           )
                                   )
15                                 )
          DEFENDANTS.              )
16   ______________________________)
17
18        Plaintiff United States of America, by its counsel, Assistant
19   United States Attorney, Heiko P. Coppola, and defendant Jun Xiong
20   Wang, by his attorney, Charles Bourdon, hereby stipulate and agree
21   that the Judgment and Sentencing date calendared for Wednesday,
22   February 4, 2009, at 10:00 a.m. before the Honorable Senior
23   District Court Judge, Edward J. Garcia, may be continued to Friday,
24   March 20, 2009, at 10:00 a.m.
25        There is no requirement for any excludable time under the
26   Speedy Trial Act since the defendant has pled guilty.
27        The Court’s courtroom deputy, Ms. Colleen Lydon, was contacted
28   to ensure the Court’s calendar was available for that date and the

                                           1
       Case 2:07-cr-00025-WBS Document 173 Filed 02/04/09 Page 2 of 2


 1   Court is available on Friday, March 20, 2009. The U.S. Probation
 2   Officer also has no objection to continuing this matter until March
 3   20, 2009.
 4
                                 Respectfully submitted,
 5
                                 LAWRENCE G. BROWN
 6                               Acting U.S. Attorney
 7
 8
     DATED: 2-3-09                /s/ Heiko P. Coppola
 9                               HEIKO P. COPPOLA
                                 Assistant U.S. Attorney
10
11
     DATED: 2-3-09                /s/ Charles Bourdon1
12                               CHARLES F. BOURDON
                                 Attorney for Defendant Jun Xiong Wang
13
14
                                        ORDER
15
16
          FOR GOOD CAUSE SHOWN, IT IS SO ORDERED.
17
18   DATED: February 3, 2009.
19
20
                                 /s/ Edward J. Garcia
21                               EDWARD J. GARCIA
                                 Senior U.S. District Judge
22
23
24
25
26
          1
27            Mr. Bourdon telephonically authorized AUSA Coppola to sign this
28   stipulation.

                                           2
